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IN THE UNITED sTATES DIsTRICT CoURT '
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUN 20 PH 2: g.
WESTERN DIVIsIoN

ROBERT Ft. Di TROUQ

UNITED sTA'rEs oF AMERICA, w.oi. §t=Li-'§' E;Y§'p§,§

Piaintiff,
v. No. 02-20356-B/v
WILLIAM HoLLAND,

Defendant.

 

ORDER OF REFERENCE

 

Before the Court is Defendant’s Motion to Appoint Co-Counsel filed on June 17, 2005.
This motion is referred to the United States Magistrate Judge for determination Any objections
to the magistrate judge’s order shall be made within ten (10) days after service of the order,
setting forth particularly those portions of the order objected to and the reasons for the
objections

rr rs so oRDEREI) this loq`\day of June, 2005.

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J. DANIEL BREEN \
NIT D STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 345 in
case 2:02-CR-20356 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

